                     Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 1 of 35

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of Texas

 Case number (If known): _________________________ Chapter 15                                                                                " Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Calfrac Well Services Corp.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                  "     Federal Employer Identification Number (EIN)       8 ___
                                                                                                          ___ 4 – 1___ 5___ 9___ ___
                                                                                                                                 1 ___
                                                                                                                                     7 ___
                                                                                                                                        3 ___
                                                                                                                                           8

                                                  "     Other ___________________________. Describe identifier _____________________________.


                                           For individual debtors:

                                                  "     Social Security number:    xxx – xx– ____ ____ ____ ____

                                                  "     Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                  "     Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Ronald P. Mathison
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign            Court of Queen's Bench of Alberta
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           "      Foreign main proceeding
                                           "      Foreign nonmain proceeding
                                           "      Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               "      A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                           "      A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                           "      Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign              "      No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
     foreign representative(s)?
                                           "      Yes




Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                   page 1
                         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 2 of 35

Debtor          Calfrac Well Services Corp.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Canada
                                        ______________________________________________                   1560 Broadway, Suite 2090
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Denver, Colorado                          80202
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         United States of America
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 411 - 8th Avenue S.W.
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Calgary, Alberta                     T2P 1E3
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 Canada
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              https://www.calfrac.com
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:

                                         "      Non-individual (check one):

                                                 "    Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                  "   Partnership

                                                  "   Other. Specify: ________________________________________________

                                         "      Individual




     Official Form 401                          Chapter 15 Petition for Recognition of a Foreign Proceeding                                      page 2
                      Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 3 of 35

Debtor        Calfrac Well Services Corp.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                        "     Debtor’s principal place of business or principal assets in the United States are in this district.
                                       "     Debtor does not have a place of business or assets in the United States, but the following
                                             action or proceeding in a federal or state court is pending against the debtor in this district:
                                             ___________________________________________________________________________.

                                       "     If neither box is checked, venue is consistent with the interests of justice and the convenience
                                             of the parties, having regard to the relief sought by the foreign representative, because:
                                             ___________________________________________________________________________.



13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                       ! /s/ Ronald P. Mathison
                                            ________________________________________________           Ronald P. Mathison
                                                                                                       _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         07/13/2020
                                                           __________________
                                                            MM / DD / YYYY



                                       !    ________________________________________________           _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         __________________
                                                            MM / DD / YYYY




14.   Signature of attorney
                                       ! /s/ Caroline A. Reckler
                                            _________________________________________________ Date                  07/13/2020
                                                                                                                   _________________
                                            Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                           Caroline  A. Reckler
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Latham   & Watkins LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           330 North Wabash Avenue, Suite 2800
                                           _________________________________________________________________________________________________
                                           Number         Street
                                           Chicago
                                           ____________________________________________________ IL__________________________________________
                                                                                                             60611
                                           City                                                            State         ZIP Code


                                           (312)  876-7700
                                           ____________________________________                            caroline.reckler@lw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address




                                           6275746                                                IL
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 401                         Chapter 15 Petition for Recognition of a Foreign Proceeding                                    page 3
          Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 4 of 35




                              Calfrac Well Services Corp.
                       Chapter 15 Voluntary Petition Attachments

Item 6. A certified copy, translated into English, of the decision commencing the foreign
proceeding and appointing the foreign representative.




US-DOCS\116923658.2
Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 5 of 35
Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 6 of 35
Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 7 of 35
Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 8 of 35
Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 9 of 35
Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 10 of 35
Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 11 of 35
Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 12 of 35
Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 13 of 35
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 14 of 35




                                   Calfrac Well Services Corp.
                            Chapter 15 Voluntary Petition Attachments

Item 8. A list containing the names and addresses of (i) all persons or bodies authorized to
administer foreign proceedings of the debtor, (ii) all parties to litigation pending in the United
States in which the debtor is a party at the time of filing of this petition, and (iii) all entities against
whom provisional relief is being sought under 11 U.S.C. § 1519.




US-DOCS\116923759.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 15 of 35




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                     Chapter 15
 In re
                                                     Case No. 20-[____] (___)
 Calfrac Well Services Corp.,

          Debtor in a Foreign Proceeding


     VERIFIED LIST PURSUANT TO RULE 1007(A)(4) OF THE FEDERAL RULES OF
                         BANKRUPTCY PROCEDURE

         I, Ronald P. Mathison, as the authorized foreign representative (the “Foreign

Representative”) of the above-captioned debtor (the “Debtor”), which is the subject of

proceedings regarding an arrangement under the Canada Business Corporations Act, R.S.C. 1985,

c. C-44 (the “Canadian Proceedings”) concerning the Debtor currently pending before the Court

of Queen's Bench of Alberta (the “Canadian Court”), hereby submit this verified list pursuant to

Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure (the “Verified List”) under penalty

of perjury under the laws of the United States as follows:

I.       ADMINISTRATOR OF THE DEBTOR IN FOREIGN PROCEEDING

         1.      I, Ronald P. Mathison, am the authorized Foreign Representative in the Canadian

Proceedings. I certify pursuant to 28 U.S.C. § 1746 under penalty of perjury under the laws of the

United States to the best of my knowledge, information, and belief, that, other than the Canadian

Proceedings, there are no foreign proceedings pending with respect to the Debtor.

         2.      My address is: 411 – 8th Avenue S.W., Calgary, Alberta T2P 1E3, Canada.




US-DOCS\116923762.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 16 of 35




II.     LITIGATION PARTIES IN THE UNITED STATES

        3.       I certify pursuant to 28 U.S.C. § 1746 under penalty of perjury under the laws of

the United States to the best of my knowledge, information, and belief, that the parties to litigation

pending in the United States in which the Debtor is a party at the time of the filing of the Debtor’s

chapter 15 petition for recognition of a foreign main proceeding are listed in Schedule 1 hereto.

III.  ENTITIES AGAINST WHOM PROVISIONAL RELIEF IS SOUGHT PURSUANT
TO 11 U.S.C. § 1519

1.               Attached as Schedule 2 hereto, the Foreign Representative has included a list of the

names and addresses of substantially all parties against whom provisional relief is sought.

                            [Remainder of Page Left Intentionally Blank]




US-DOCS\116923762.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 17 of 35




        I, Ronald P. Mathison, declare under penalty of perjury, that I have reviewed the above

Verified List and that the information contained therein is true and correct to the best of my

knowledge, information, and belief.


Dated: July 13, 2020

                                                           /s/ Ronald P. Mathison
                                                            Ronald P. Mathison, Petitioner and
                                                            Foreign Representative




US-DOCS\116923762.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 18 of 35




                                    Schedule 1

                                 Litigation Parties




US-DOCS\116923762.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 19 of 35




  DeMarcus Curry v. Calfrac:

  Steven Sachs
  Espinoza Law Firm, PLLC
  10202 Heritage Blvd.
  San Antonio, TX 78216
  Email: Steven@espinozafirm.com


  Voorhies v. Wildcat Minerals, LLC et al.

  Plaintiff’s Counsel:

  Lance H. Lubel
  Lubel Voyles LLP
  675 Bering Drive, Suite 850
  Houston, TX 77057
  Email: lance@lubelvoyles.com

  Marcus R. Spagnoletti; Eric J. Rhine
  Spagnoletti Law Firm
  401 Louisiana Street, 8th Floor
  Houston, TX 77002
  Email: mspagnoletti@spaglaw.com;
         erhine@spaglaw.com

  Registered Agent:

  Calfrac Well Services Corp.
  Serving Registered Agent Corporation Service Company
  D/B/A CSC Lawyers Incorporating Service Company
  211 E 7th Street Suite 620
  Austin, TX 78701




US-DOCS\116923762.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 20 of 35




  Soo Line Railroad Company (d/b/a Canadian Pacific) v. Dakota Gold Transfer-Plaza,
  LLC; and Calfrac

  Dakota Gold’s Counsel:
  Lee M. Grossman
  Severson, Wogsland & Liebl, PC
  4627 44th Ave. S, Ste. 108
  Fargo, ND 58104
  lee.grossman@swlattorneys.com

  Canadian Pacific’s Counsel:
  Mark R. Hanson
  Nilles Law Firm
  201 North 5th Street
  Fargo, ND 58102
  mhanson@nilleslaw.com

  John K. Fiorilla
  Dyer & Peterson PC
  322 US Highway 46, Suite 220e
  Parsippany, NJ 07054
  jfiorilla@dyerpeterson.com


  Contence Sloan v. Calfrac

  Plaintiff:
  Contence Sloan
  2001 Harvest Hills Ave., Apt. 127
  Williston, ND 58801
  Sha4133@yahoo.com




US-DOCS\116923762.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 21 of 35




  Jose Bonilla v. Calfrac / Liberty Mutual

  Plaintiff’s Counsel:
  Michael J. Doyle
  2501 San Pedro Drive NE
  Suite 2058
  Albuquerque, NM 87110
  mikedoyleatty@gmail.com

  Calfrac / Liberty Mutual’s Counsel:

  Neysa E. Lujan
  Butt, Thornton, & Baehr PC.
  4101 Indian School Road NE
  Suite 300S
  Albuquerque, NM 87110
  nelujan@btblaw.com

  Loyd Brath v. Calfrac / Liberty Mutual

  Plaintiff’s Counsel:
  Christopher H. Richter, Esq.
  Killin, Davis, Richter & Mayle P.C.
  PO Box 4859
  Grand Junction, CO 81502
  nickl@killianlaw.com

  Calfrac / Liberty Mutual’s Counsel:

  Maureen Harrington, Esq.
  5670 Greenwood Plaza Blvd.
  Suite 400
  Greenwood Village, CO 80111
  DenverLegalWC@libertymutual.com




US-DOCS\116923762.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 22 of 35




  Mickey Olson v. Calfrac / Liberty Mutual

  Plaintiff’s Counsel:
  John Hightower
  5670 Greenwood Plaza Blvd.
  Suite 400
  Greenwood Village, CO 80111
  jshightower@sbcw-law.com

  Calfrac / Liberty Mutual’s Counsel:

  Jonathan E. Dominguez
  P.O. Box 3170
  Albuquerque, NM 87190
  jedominguez@btblaw.com

  DeMarcus Curry v. Calfrac / Liberty Mutual

  Plaintiff:

  DeMarcus Curry
  PO BOX 3170
  Albuquerque, NM 87190
  demarcus.curry2836@gmail.com

  Calfrac / Liberty Mutual’s Counsel:

  Christopher Esson
  Downs Stanford, P.C.
  2001 Bryan Street
  Suite 4000
  Dallas, TX 75201
  cesson@downstanford.com




US-DOCS\116923762.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 23 of 35




                                     Schedule 2

                              Provisional Relief Parties




US-DOCS\116923762.2
          Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 24 of 35




First Lien Agent
HSBC Bank Canada
407 – 8th Avenue S.W.
Calgary, Alberta T2P 1E5
Attention: Vice President
Facsimile: (403) 693-8556

HSBC Contact: bruce.robinson@hsbc.ca

Counsel:
Ian Cooper; Shauna Crothers; Daniel E. Sears; Josef Kruger
Borden Ladner Gervais LLP
Centennial Place, East Tower
520 3rd Avenue SW
Suite 1900
Calgary, AB
T2P 0R3
Facsimile: (403) 266-1395
ICooper@blg.com; SCrothers@blg.com; DSears@blg.com ; JKruger@blg.com

Second Lien Notes Trustee
Wilmington Trust, National Association
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402
Attention: Calfrac Holdings Notes Administrator
Facsimile: (612) 217-5651

Wilmington Trust Contact: svilhauer@wilmingtontrust.com

Counsel:
Ronald Hewitt
Covington & Burling LLP
The New York Times Building, 620 Eighth Avenue
New York, NY 10018-1405
Facsimile: (212) 841-1010
rhewitt@cov.com




 US-DOCS\116923762.2
          Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 25 of 35




Unsecured Notes Trustee
Wells Fargo Bank, National Association
333 S. Grand Ave., 5th Floor
Los Angeles, CA 90071
Attention: Corporate Trust Service – Administrator for Calfrac Holdings, Inc.

Wells Fargo Contact: casey.boyle@wellsfargo.com

Counsel
Yesenia D. Batista
Thomson Hine
335 Madison Avenue
12 Floor
New York, NY 10017-4611
Facsimile: (212) 344-6101
Yesenia.Batista@ThompsonHine.com

G2S2 Capital (Large Shareholder and Unsecured Noteholder)
Paola Calce
Clarke Inc.
401 Bay St., Suite 2704
Toronto, ON
M5H 2Y4
Facsimile: (416) 640-1834
pcalce@clarkeinc.com

AIMCO (Largest Shareholder and Unsecured Noteholder)
Neville Jugnauth
Torys LLP
525 – 8th Avenue S.W., 46th Floor
Eighth Avenue Place East
Calgary, Alberta T2P 1G1 Canada
Facsimile: (403) 776-3800
njugnauth@torys.com




 US-DOCS\116923762.2
          Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 26 of 35




DeMarcus Curry v. Calfrac
Plaintiff’s Counsel:

Steven Sachs
Espinoza Law Firm, PLLC
10202 Heritage Blvd.
San Antonio, TX 78216
Steven@espinozafirm.com

Voorhies v. Wildcat Minerals, LLC et al.
Plaintiff’s Counsel:

Lance H. Lubel
Lubel Voyles LLP
675 Bering Drive, Suite 850
Houston, TX 77057
lance@lubelvoyles.com

Marcus R. Spagnoletti; Eric J. Rhine
Spagnoletti Law Firm
401 Louisiana Street, 8th Floor
Houston, TX 77002
mspagnoletti@spaglaw.com; erhine@spaglaw.com

Soo Line Railroad Company (d/b/a Canadian Pacific) v. Dakota Gold
Transfer-Plaza, LLC; and Calfrac

Plaintiff’s Counsel:
Lee M. Grossman
Severson, Wogsland & Liebl, PC
4627 44th Ave. S, Ste. 108
Fargo, ND 58104
lee.grossman@swlattorneys.com

Contence Sloan v. Calfrac

Plaintiff:
Contence Sloan
2001 Harvest Hills Ave., Apt. 127
Williston, ND 58801
Sha4133@yahoo.com




 US-DOCS\116923762.2
          Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 27 of 35




Jose Bonilla v. Calfrac / Liberty Mutual
Plaintiff’s Counsel:
Michael J. Doyle
2501 San Pedro Drive NE
Suite 2058
Albuquerque, NM 87110
mikedoyleatty@gmail.com

Calfrac / Liberty Mutual’s Counsel:

Neysa E. Lujan
Butt, Thornton, & Baehr PC.
4101 Indian School Road NE
Suite 300S
Albuquerque, NM 87110
nelujan@btblaw.com

Loyd Brath v. Calfrac / Liberty Mutual
Plaintiff’s Counsel:
Christopher H. Richter, Esq.
Killin, Davis, Richter & Mayle P.C.
PO Box 4859
Grand Junction, CO 81502
nickl@killianlaw.com

Calfrac / Liberty Mutual’s Counsel:

Maureen Harrington, Esq.
5670 Greenwood Plaza Blvd.
Suite 400
Greenwood Village, CO 80111
DenverLegalWC@libertymutual.com




 US-DOCS\116923762.2
             Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 28 of 35




Mickey Olson v. Calfrac / Liberty Mutual
Plaintiff’s Counsel:
John Hightower
5670 Greenwood Plaza Blvd.
Suite 400
Greenwood Village, CO 80111
jshightower@sbcw-law.com

Calfrac / Liberty Mutual’s Counsel:

Jonathan E. Dominguez
P.O. Box 3170
Albuquerque, NM 87190
jedominguez@btblaw.com

DeMarcus Curry v. Calfrac / Liberty Mutual
Plaintiff:

DeMarcus Curry
PO BOX 3170
Albuquerque, NM 87190
demarcus.curry2836@gmail.com

Calfrac / Liberty Mutual’s Counsel:

Christopher Esson
Downs Stanford, P.C.
2001 Bryan Street
Suite 4000
Dallas, TX 75201
cesson@downstanford.com




 US-DOCS\116923762.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 29 of 35




                               Calfrac Well Services Corp.
                        Chapter 15 Voluntary Petition Attachments

Item 11. A corporate ownership statement containing the information described in Rule 7007.1 of
the Federal Rules of Bankruptcy Procedure.




US-DOCS\116923513.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 30 of 35




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                       Chapter 15
 In re
                                                       Case No. 20-[____] (___)
 Calfrac Well Services Corp.,

          Debtor in a Foreign Proceeding


                       STATEMENT OF CORPORATE OWNERSHIP

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following is a list of all corporations, other than governmental units, that directly or indirectly

own 10% or more of any class of interests in the Debtor:

                      Name                                   Percentage of Interest Held


 Calfrac Well Services Ltd.                                               100%




US-DOCS\116923516.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 31 of 35




        I, Ronald P. Mathison, declare under penalty of perjury, that I have reviewed the above

Statement of Corporate Ownership and that the information contained therein is true and correct

to the best of my knowledge, information, and belief.


Dated: July 13, 2020

                                                           /s/ Ronald P. Mathison
                                                            Ronald P. Mathison, Petitioner and
                                                            Foreign Representative




US-DOCS\116923516.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 32 of 35




                                  Calfrac Well Services Corp.
                           Chapter 15 Voluntary Petition Attachments

                      Addendum A. Statement Pursuant to 11 U.S.C. § 1515(c).




US-DOCS\116923230.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 33 of 35




                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                        Chapter 15
 In re
                                                        Case No. 20-[____] (___)
 Calfrac Well Services Corp.,

          Debtor in a Foreign Proceeding


              STATEMENT REGARDING KNOWN FOREIGN PROCEEDINGS

         I, Ronald P. Mathison, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of

perjury under the laws of the United States as follows:

         1.      I am the duly appointed foreign representative (the “Foreign Representative”) of

the above-captioned debtor (the “Debtor”) which is the subject of proceedings regarding an

arrangement under the Canada Business Corporations Act, R.S.C. 1985, c. C-44 (the “Canadian

Proceedings”) concerning the Debtor currently pending before the Court of Queen's Bench of

Alberta (the “Canadian Court”).

         2.      I respectfully submit this statement, as required under section 1515(c) of title 11 of

the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), in support of the

verified chapter 15 petition filed by the Foreign Representative seeking recognition by the United

States Bankruptcy Court for the Southern District of Texas of the Canadian Proceedings as foreign

main proceedings or, in the alternative, foreign nonmain proceedings.

         3.      Pursuant to the requirements of section 1515(c) of the Bankruptcy Code, to the best

of my knowledge, the Canadian Proceedings currently pending before the Canadian Court are the

only proceedings under a law relating to adjustment of debt of any kind pending with respect to


US-DOCS\116923425.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 34 of 35




the Debtor and thus is the only known “foreign proceeding” with respect to the Debtor, as that

term is defined in section 101(23) of the Bankruptcy Code.

                         [Remainder of Page Left Intentionally Blank]




US-DOCS\116923425.2
         Case 20-33529 Document 1 Filed in TXSB on 07/13/20 Page 35 of 35




        I, Ronald P. Mathison, declare under penalty of perjury, that I have reviewed the above

Statement Regarding Known Foreign Proceedings and that the information contained therein is

true and correct to the best of my knowledge, information, and belief.


Dated: July 13, 2020

                                                             /s/ Ronald P. Mathison
                                                             Ronald P. Mathison, Petitioner and
                                                             Foreign Representative




US-DOCS\116923425.2
